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                      EXHIBIT 19
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            A              B            C             D                 E             F                 G              H                I                      J                      K          L            M                N                  O              P             Q
 1 PRESCRIBER_LAST PRESCRIBER_FIRST    ID          CALL_ID       PRESCRIBER_ID   CALL_DATE         TERRITORY     REP_NAME         CALL_TYPE        CALL_ADDRESS_LINE_1     CALL_ADDRESS_CITY
                                                                                                                                                                                        CALL_ADDRESS_STATE
                                                                                                                                                                                                      CALL_ADDRESS_ZIP CALL_NOTES             MI_NOTES       AE_NOTES        SOURCE
 2 CLINTON        MARYELLEN             89945   90257173      32058635              03-Feb-99     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
 3 CLINTON        MARYELLEN             96632   90368574      32058635              15-Feb-99     PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
 4 CLINTON        MARYELLEN           108241    90554535      32058635              04-Mar-99     PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
 5 CLINTON        MARYELLEN           117078    90686875      32058635              17-Mar-99     PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
 6 CLINTON        MARYELLEN           123798    90778006      32058635              26-Mar-99     PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
 7 CLINTON        MARYELLEN           133266    90894625      32058635               09-Apr-99    PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
 8 CLINTON        MARYELLEN           134255    90906084      32058635               12-Apr-99    PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
 9 CLINTON        MARYELLEN           170186    91351721      32058635               09-Jun-99    PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
10 CLINTON        MARYELLEN           208410    91838365      32058635              12-Aug-99     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
11 ARENDALL       ELBERT              247180    92286559      32416898               13-Oct-99    PD           N/A              Starter       2400 PATTERSON ST. SUITE 203 NASHVILLET       TN          37203                                                           S2
12 CLINTON        MARYELLEN           247178    92286557      32058635               13-Oct-99    PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
13 Culclaasure    John                247179    92286558      32412230               13-Oct-99    PD           N/A              Detail Only   2400 Patterson St. Suite 400  Nashville       TN          37203                                                           S2
14 Culclaasure    John                292257    92839417      32412230              23-Dec-99     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
15 CLINTON        MARYELLEN           292588    92843098      32058635              27-Dec-99     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
16 CLINTON        MARYELLEN           302531    92976589      32058635               19-Jan-00    PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
17 HESTER         RAY                 315022    93119870      32416300              08-Feb-00     PD           N/A              Detail Only   4230 HARDING RD 709           NASHVILLE       TN          37205                                                           S2
18 ARENDALL       ELBERT              315200    93133884      32416898              09-Feb-00     PD           N/A              Detail Only   4230 HARDING RD 709           NASHVILLE       TN          37205                                                           S2
19 CLINTON        MARYELLEN           316052    93131387      32058635              09-Feb-00     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
20 Culclaasure    John                316053    93131388      32412230              09-Feb-00     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
21 Krancer        Pam                 316054    93131389      34744073              09-Feb-00     PD           N/A              Starter       2400 Patterson St. Suite 400  Nashville       TN          37203                                                           S2
22 CLINTON        MARYELLEN           320965    93193227      32058635              16-Feb-00     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203        TNCare approving                                   S2
23 CLINTON        MARYELLEN           342664    93460060      32058635              15-Mar-00     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
24 Culclaasure    John                342665    93460061      32412230              15-Mar-00     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
25 Webber         Kari                342666    93460062      34744081              15-Mar-00     PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
26 ARENDALL       ELBERT              343208    93472275      32416898              16-Mar-00     PD           N/A              Detail Only   4230 HARDING RD 709           NASHVILLE       TN          37205                                                           S2
27 Krancer        Pam                 343209    93472276      34744073              16-Mar-00     PD           N/A              Starter       2400 Patterson St. Suite 400  Nashville       TN          37203        Culclasure (pain                                   S2
28 Culclaasure    John                362708    93692484      32412230               11-Apr-00    PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
29 Webber         Kari                362709    93692485      34744081               11-Apr-00    PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
30 Culclaasure    John                364894    93719805      32412230               13-Apr-00    PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
31 Webber         Kari                364895    93719806      34744081               13-Apr-00    PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
32 CLINTON        MARYELLEN           369495    93780130      32058635               20-Apr-00    PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
33 CLINTON        MARYELLEN           377802    93891846      32058635              08-May-00     PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
34 CLINTON        MARYELLEN           379461    93915446      32058635              10-May-00     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203        keeps calling!!!                                   S2
35 Culclaasure    John                379463    93915448      32412230              10-May-00     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
36 CLINTON        MARYELLEN           403373    94222047      32058635               15-Jun-00    PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
37 Culclaasure    John                403377    94222051      32412230               15-Jun-00    PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
38 Webber         Kari                403378    94222052      34744081               15-Jun-00    PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
39 CLINTON        MARYELLEN           410031    94308289      32058635               26-Jun-00    PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
40 CLINTON        MARYELLEN           420097    94435118      32058635                17-Jul-00   PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203        benefit-Leipers Fork                               S2
41 Culclaasure    John                421782    94460838      32412230                19-Jul-00   PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
42 Culclaasure    John                432747    94587306      32412230              03-Aug-00     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203        only - works great!!                               S2
43 CLINTON        MARYELLEN           439391    94673012      32058635              14-Aug-00     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
44 ARENDALL       ELBERT              440730    94685637      32416898              15-Aug-00     PD           N/A              Detail Only   4230 HARDING RD 709           NASHVILLE       TN          37205                                                           S2
45 Krancer        Pam                 440731    94685638      34744073              15-Aug-00     PD           N/A              Starter       2400 Patterson St. Suite 400  Nashville       TN          37203                                                           S2
46 CLINTON        MARYELLEN           449884    94808193      32058635              24-Aug-00     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203        neurop pain, sleep;                                S2
47 Culclaasure    John                449883    94808192      32412230              24-Aug-00     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
48 Webber         Kari                449889    94808198      34744081              24-Aug-00     PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
49 CLINTON        MARYELLEN           457600    94908311      32058635              06-Sep-00     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
50 CLINTON        MARYELLEN           464807    94998088      32058635              15-Sep-00     PD           N/A              Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
51 CLINTON        MARYELLEN           468477    95049068      32058635              21-Sep-00     PD           N/A              Detail Only   1916 Patterson St             Nashville       TN          37203                                                           S2
52 CLINTON        MARYELLEN             68410   346101537     32058635               24-Oct-00    T3CTC        Chelyncia        Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
53 CLINTON        MARYELLEN             31622   224000697     32058635              17-Nov-00     K1H12        Pippin, Ashley   Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
54 CLINTON        MARYELLEN             31601   224000669     32058635              21-Nov-00     K1H12        Pippin, Ashley   Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
55 CLINTON        MARYELLEN             74650   69114753      32058635              30-Nov-00     K1H12        Pippin, Ashley   Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
56 CLINTON        MARYELLEN             31636   224000721     32058635              21-Dec-00     K1H12        Pippin, Ashley   Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
57 CLINTON        MARYELLEN             31646   224000740     32058635               03-Jan-01    K1H12        Pippin, Ashley   Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
58 Krancer        Pam                   74676   69602093      34744073               11-Jan-01    K1H12        Pippin, Ashley   Starter       2400 Patterson St. Suite 400  Nashville       TN          37203                                                           S2
59 CLINTON        MARYELLEN             31665   224000799     32058635               16-Jan-01    K1H12        Pippin, Ashley   Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
60 CLINTON        MARYELLEN             31674   224000821     32058635               24-Jan-01    K1H12        Pippin, Ashley   Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
61 CLINTON        MARYELLEN             31729   224000982     32058635              22-Feb-01     K1H12        Pippin, Ashley   Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
62 MATHEWS        DOUGLAS               31719   224000950     32417966              02-Mar-01     K1H12        Pippin, Ashley   Starter       2400 Patterson St. Suite 123  NASHVILLE       TN          37203                                                           S2
63 CLINTON        MARYELLEN             31740   224001006     32058635              13-Mar-01     K1H12        Pippin, Ashley   Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
64 Hatchett       Angela                31770   224001070     224002134             28-Mar-01     K1H12        Pippin, Ashley   Starter       4230 Harding Road, Suite 709  Nashville       TN          37205                                                           S2
65 CLINTON        MARYELLEN             31801   224001163     32058635               24-Apr-01    K1H12        Pippin, Ashley   Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
66 CLINTON        MARYELLEN             31915   224001481     32058635                28-Jul-01   K1H12        Pippin, Ashley   Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
67 HESTER         RAY                   31921   224001488     32416300              01-Aug-01     K1H12        Pippin, Ashley   Starter       4230 HARDING RD 709           NASHVILLE       TN          37205                                                           S2
68 CLINTON        MARYELLEN             31956   224001586     32058635              04-Sep-01     K1H12        Pippin, Ashley   Starter       1916 Patterson St             Nashville       TN          37203                                                           S2
69 Krancer        Pam                   31957   224001588     34744073              04-Sep-01     K1H12        Pippin, Ashley   Starter       2400 Patterson St. Suite 400  Nashville       TN          37203                                                           S2
70 Clinton        Mary                187717    9             23219838               09-Oct-01    K1H12        Pippin, Ashley   Starter       1916 PATTERSON ST             NASHVILLE       TN          37203                               information on              S3
71 Krancer        Pamela              364924    7             23316030               24-Oct-01    K1H12        Pippin, Ashley   Starter       2400 Patterson St, Suite 400  Nashville       TN          37203                                                           S3
72 Clinton        Mary                660803    8             23219838              06-Nov-01     K1H12        Pippin, Ashley   Starter       1916 PATTERSON ST             NASHVILLE       TN          37203                                                           S3
73 Clinton        Mary                187719    6             23219838              12-Dec-01     K1H12        Pippin, Ashley   Starter       1916 PATTERSON ST             NASHVILLE       TN          37203                                                           S3
74 HESTER         RAY                 599015    3             23280339               17-Jan-02    K1H12        Pippin, Ashley   Starter       4230 HARDING RD 709           NASHVILLE       TN          37205                                                           S3
75 Krancer        Pamela              364923    0             23316030               21-Jan-02    K1H12        Pippin, Ashley   Starter       2400 Patterson St, Suite 400  Nashville       TN          37203                                                           S3
76 Clinton        Mary                187712    4             23219838              06-Feb-02     K1H12        Pippin, Ashley   Starter       1916 PATTERSON ST             NASHVILLE       TN          37203                                                           S3
77 Clinton        Mary                187710    3             23219838              06-Mar-02     K1H12        Pippin, Ashley   Starter       1916 PATTERSON ST             NASHVILLE       TN          37203                                                           S3
78 Hatchett       Angela              281406    9             23327612               05-Apr-02    K1H12        Pippin, Ashley   Only          4230 Harding Road, Suite 709  Nashville       TN          37205                               and all                     S3
79 Clinton        Mary                187714    7             23219838              01-May-02     K1H12        Pippin, Ashley   Starter       1916 PATTERSON ST             NASHVILLE       TN          37203                                                           S3
80 Krancer        Pamela              364925    8             23316030              13-May-02     K1H12        Pippin, Ashley   Starter       2400 Patterson St, Suite 400  Nashville       TN          37203        300s, probe into                                   S3
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              A              B    C            D              E         F                 G            H                I                      J                        K        L           M               N                    O   P          Q
 81   McCombs      Paul          628681   5         109879956         13-May-02     K1H12      Pippin, Ashley   Starter       2400 Patterson Street           Nashville     TN       37203                                                S3
 82   Clinton      Mary          187718   3         23219838          22-May-02     K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
 83   Krancer      Pamela        518325   0         23316030            08-Jul-02   K1H12      Pippin, Ashley   Starter       2400 Patterson St, Suite 400    Nashville     TN       37203       indication, how high                     S3
 84   Clinton      Mary          187711   2         23219838            17-Jul-02   K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203       need to stress                           S3
 85   Culclasure   John          158706   8         23279720          08-Aug-02     K1H12      Pippin, Ashley   Detail Only   2400 Patterson St.              Nashville     TN       37203       on phn ate                               S3
 86   Brumley      Miriam        268853   4         33307000062673    21-Aug-02     K1H12      Pippin, Ashley   Detail Only   1916 Patterson St               Nashville     TN       37203                                                S3
 87   Webber       Kari          689013   2         23294552          21-Aug-02     K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
 88   Clinton      Mary          187713   3         23219838          03-Sep-02     K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
 89   Brumley      Miriam        268859   9         33307000062673    13-Sep-02     K1H12      Pippin, Ashley   Starter       1916 Patterson St               Nashville     TN       37203                                                S3
 90   Clinton      Mary          187709   3         23219838           07-Oct-02    K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203       know much about it,                      S3
 91   Brumley      Miriam        268861   1         33307000062673     09-Oct-02    K1H12      Pippin, Ashley   Starter       1916 Patterson St               Nashville     TN       37203       the benefits of                          S3
 92   Culclasure   John          546580   7         23279720           09-Oct-02    E3B21      Regina           Detail Only   2400 Patterson St, Suite 400    Nashville     TN       37203                                                S3
 93   Brumley      Miriam        268854   6         33307000062673     23-Oct-02    K1H12      Pippin, Ashley   Starter       1916 Patterson St               Nashville     TN       37203                                                S3
 94   Brumley      Miriam        268858   4         33307000062673     23-Oct-02    K1H12      Pippin, Ashley   Starter       1916 Patterson St               Nashville     TN       37203                                                S3
 95   Webber       Kari          327230   9         23294552           23-Oct-02    K1H12      Pippin, Ashley   Only          1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
 96   Webber       Kari          327231   9         23294552           30-Oct-02    K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
 97   Brumley      Miriam        268850   3         33307000062673    08-Nov-02     E3B21      Regina           Starter       1916 Patterson St               Nashville     TN       37203                                                S3
 98   Brumley      Miriam        588231   4         33307000062673    12-Nov-02     K1H12      Pippin, Ashley   Starter       1916 Patterson St               Nashville     TN       37203                                                S3
 99   Culclasure   John          158703   5         23279720          22-Nov-02     K1H12      Pippin, Ashley   Detail Only   2400 Patterson St.              Nashville     TN       37203                                                S3
100   Webber       Kari          510732   6         23294552          22-Nov-02     K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
101   Brumley      Miriam        268851   8         33307000062673    25-Nov-02     E3B21      Regina           Starter       1916 Patterson St               Nashville     TN       37203                                                S3
102   Clinton      Mary          667031   0         23219838          25-Nov-02     E3B21      Regina           Starter       1916 Patterson St Suite 101     Nashville     TN       37203                                                S3
103   Brumley      Miriam        268857   3         33307000062673    06-Dec-02     K1H12      Pippin, Ashley   Starter       1916 Patterson St               Nashville     TN       37203                                                S3
104   Webber       Kari          327225   5         23294552          18-Dec-02     K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
105   Webber       Kari          510733   6         23294552           08-Jan-03    K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
106   Webber       Kari          327227   1         23294552           20-Jan-03    K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
107   Brumley      Miriam        499176   6         33307000062673     28-Jan-03    K1H12      Pippin, Ashley   Starter       1916 Patterson St               Nashville     TN       37203                                                S3
108   Clinton      Mary          481930   3         23219838           29-Jan-03    K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
109   Brumley      Miriam        268856   3         33307000062673    05-Feb-03     K1H12      Pippin, Ashley   Starter       1916 Patterson St               Nashville     TN       37203                                                S3
110   Webber       Kari          327229   3         23294552          05-Feb-03     K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
111   Brumley      Miriam        588234   3         33307000062673    11-Feb-03     K1H12      Pippin, Ashley   Starter       1916 Patterson St               Nashville     TN       37203                                                S3
112   Clinton      Mary          187715   0         23219838          11-Feb-03     K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
113   Webber       Kari          327228   8         23294552          19-Feb-03     K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
114   McCombs      Paul           27841   7         109879956         27-Feb-03     K1H12      Pippin, Ashley   Starter       2400 Patterson Street           Nashville     TN       37203                                                S3
115   Shwab        George        697702   8         23329391          03-Mar-03     K1H12      Pippin, Ashley   Starter       1916 Patterson Street           Nashville     TN       37203                                                S3
116   Brumley      Miriam        588230   4         33307000062673    06-Mar-03     K1H12      Pippin, Ashley   Detail Only   1916 Patterson St               Nashville     TN       37203                                                S3
117   Culclasure   John          158704   2         23279720          06-Mar-03     K1H12      Pippin, Ashley   Starter       2400 Patterson St.              Nashville     TN       37203                                                S3
118   Brumley      Miriam        268852   7         33307000062673    12-Mar-03     K1H12      Pippin, Ashley   Starter       1916 Patterson St               Nashville     TN       37203                              and all           S3
119   Brumley      Miriam        677192   4         33307000062673    20-Mar-03     K1H12      Pippin, Ashley   Starter       1916 Patterson St               Nashville     TN       37203                                                S3
120   Webber       Kari          327224   4         23294552          20-Mar-03     K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
121   Brumley      Miriam        268855   7         33307000062673     07-Apr-03    K1H12      Pippin, Ashley   Starter       1916 Patterson St               Nashville     TN       37203                                                S3
122   Shwab        George        608440   1         23329391           07-Apr-03    K1H12      Pippin, Ashley   Starter       1916 Patterson Street           Nashville     TN       37203                                                S3
123   Brumley      Miriam        588233   9         33307000062673     11-Apr-03    K1H12      Pippin, Ashley   Starter       1916 Patterson St               Nashville     TN       37203                                                S3
124   Brumley      Miriam        268860   7         33307000062673     17-Apr-03    K1H12      Pippin, Ashley   Starter       1916 Patterson St               Nashville     TN       37203                                                S3
125   Clinton      Mary          187716   8         23219838           17-Apr-03    K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
126   Culclasure   John          158705   4         23279720           17-Apr-03    K1H12      Pippin, Ashley   Starter       2400 Patterson St.              Nashville     TN       37203                                                S3
127   Shwab        George        370786   4         23329391           17-Apr-03    K1H12      Pippin, Ashley   Detail Only   1916 Patterson Street           Nashville     TN       37203                                                S3
128   Webber       Kari          327226   1         23294552           17-Apr-03    K1H12      Pippin, Ashley   Starter       1916 PATTERSON ST               NASHVILLE     TN       37203                                                S3
129   Brumley      Miriam        312748   15        33307000062673     18-Apr-03    3PB16A15   Regina           Detail Only   1916 Patterson St               Nashville     TN       37203                                                S3.1
130   McCombs      Paul          312743   64        109879956          18-Apr-03    3PB16A15   Regina           Starter       2400 Patterson St               Nashville     TN       37203                                                S3.1
131   Shwab        George        312747   91        23329391           18-Apr-03    3PB16A15   Regina           Detail Only   1916 Patterson St., Suite 101   Nashville     TN       37203                                                S3.1
132   Webber       Kari          312749   61        23294552           18-Apr-03    3PB16A15   Regina           Starter       1916 Patterson St               Nashville     TN       37203                                                S3.1
133   Brumley      Miriam        312764   92        33307000062673     25-Apr-03    3PB16A15   Regina           Starter       1916 Patterson St               Nashville     TN       37203                                                S3.1
134   Brumley      Miriam        588232   0         33307000062673     29-Apr-03    K1H12      Pippin, Ashley   Starter       1916 Patterson St               Nashville     TN       37203                                                S3
135   Shwab        George        312768   57        23329391          05-May-03     3PB16A15   Regina           Starter       1916 Patterson St., Suite 101   Nashville     TN       37203                                                S3.1
136   Brumley      Miriam        652009   81        33307000062673    23-May-03     3NU11M13   Vacant           Detail Only   1916 Patterson St               Nashville     TN       37203                                                S3.1
137   Shwab        George        652008   73        23329391          23-May-03     3NU11M13   Vacant           Starter       510 Hospital Dr Ste 150         Madison       TN       37115                                                S3.1
138   Brumley      Miriam        658012   54        33307000062673    30-May-03     3NR11M13   Vacant           Starter       1916 Patterson St               Nashville     TN       37203                                                S3.1
139   Clinton      Mary          658008   04        23219838          30-May-03     3NR11M13   Vacant           Starter       1916 Patterson St Ste 101       Nashville     TN       37203       Relpax first because                     S3.1
140   Culclasure   John          658009   84        23279720          30-May-03     3NR11M13   Vacant           Starter       4230 Harding Pike               Nashville     TN       37205                                                S3.1
141   Mc Curry     Paul          658013   28        236485000007313   30-May-03     3NR11M13   Vacant           Starter       1916 Patterson Street           Nashville     TN       37203       Knoxville                                S3.1
142   Schwab       George        658011   32        23338086          30-May-03     3NR11M13   Vacant           Starter       510 Hospital Dr Ste 240         Madison       TN       37115                                                S3.1
143   Webber       Kari          658010   07        23294552          30-May-03     3NR11M13   Vacant           Starter       1916 Patterson St               Nashville     TN       37203                                                S3.1
144   BERKMAN      RICHARD       652011   65        23268138           03-Jun-03    3NU11M13   Vacant           Detail Only   2400 Patterson Street           Nashville     TN       37203       yet!!                                    S3.1
145   Clinton      Mary          658021   88        23219838           05-Jun-03    3NR11M13   Vacant           Starter       1916 Patterson St Ste 101       Nashville     TN       37203       Relpax first because                     S3.1
146   Clinton      Mary          652016   31        23219838           05-Jun-03    3NU11M13   Vacant           Starter       1916 Patterson St Ste 101       Nashville     TN       37203                                                S3.1
147   Clinton      Mary          746418   23        23219838           05-Jun-03    3NU11M13   Vacant           Starter       1916 Patterson St Ste 101       Nashville     TN       37203                                                S3.1
148   Krancer      Pamela        746415   32        23316030           06-Jun-03    3NU11M13   Vacant           Starter       2400 Patterson St, Ste 4        Nashville     TN       37203                                                S3.1
149   Krancer      Pamela        658025   99        23316030           06-Jun-03    3NR11M13   Vacant           Starter       2400 Patterson St, Ste 4        Nashville     TN       37203                                                S3.1
150   Brumley      Miriam        658068   67        33307000062673     20-Jun-03    3NR11M13   Vacant           Detail Only   1916 Patterson St               Nashville     TN       37203                                                S3.1
151   Clinton      Mary          658067   30        23219838           20-Jun-03    3NR11M13   Vacant           Starter       1916 Patterson St Ste 101       Nashville     TN       37203       price change with                        S3.1
152   Culclasure   John          658061   26        23279720           20-Jun-03    3NR11M13   Vacant           Starter       4230 Harding Pike               Nashville     TN       37205                                                S3.1
153   Duncan       Kay           658063   74        62429000043532     20-Jun-03    3NR11M13   Vacant           Starter       2400 Patterson St               Nashville     TN       37203       Conference where                         S3.1
154   Mc Curry     Paul          658062   51        236485000007313    20-Jun-03    3NR11M13   Vacant           Starter       1916 Patterson Street           Nashville     TN       37203       aggresive titration                      S3.1
155   Schwab       George        658060   04        23338086           20-Jun-03    3NR11M13   Vacant           Starter       1916 Patterson Street           Nashville     TN       37203                                                S3.1
156   Brumley      Miriam        746443   70        33307000062673     26-Jun-03    3NU11M13   Vacant           Starter       1916 Patterson St               Nashville     TN       37203       that UCB (Keppra) is                     S3.1
157   BERKMAN      RICHARD       658122   22        23268138            01-Jul-03   3NR11M13   Vacant           Only          1161 21st Ave S                 Nashville     TN       37203       seeing reps today.                       S3.1
158   Brumley      Miriam        864426   68        33307000062673      11-Jul-03   3NU11M13   Vacant           Detail Only   1916 Patterson St               Nashville     TN       37203       very busy                                S3.1
159   Duncan       Kay           864431   78        62429000043532      11-Jul-03   3NU11M13   Vacant           Starter       2400 Patterson St               Nashville     TN       37203       price with Neurontin                     S3.1
160   Krancer      Pamela        864430   67        23316030            11-Jul-03   3NU11M13   Vacant           Starter       2400 Patterson St, Ste 4        Nashville     TN       37203       Pam loves Neurontin                      S3.1
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               A             B     C            D             E         F                 G            H                I                      J                             K        L           M              N             O   P          Q
161   Shwab        George         864425   63        23329391           11-Jul-03   3NU11M13   Vacant           Detail Only   1916 Patterson St., Suite 101      Nashville       TN       37203       very busy                        S3.1
162   Webber       Kari           864424   40        23294552           11-Jul-03   3NU11M13   Vacant           Starter       1916 Patterson St                  Nashville       TN       37203       Very nice                        S3.1
163   Charitat     Maurice        658166   93        23350667           18-Jul-03   3NR11M13   Vacant           Starter       1916 Patterson Street              Nashville       TN       37203       be at Culclasure's               S3.1
164   Clinton      Mary           658175   22        23219838           18-Jul-03   3NR11M13   Vacant           Only          1916 Patterson St Ste 101          Nashville       TN       37203       seeing reps today.               S3.1
165   Culclasure   John           658171   16        23279720           18-Jul-03   3NR11M13   Vacant           Starter       4230 Harding Pike                  Nashville       TN       37205       mention                          S3.1
166   Duncan       Kay            658168   49        62429000043532     18-Jul-03   3NR11M13   Vacant           Only          2400 Patterson St                  Nashville       TN       37203       Kay was not in today.            S3.1
167   Krancer      Pamela         658167   28        23316030           18-Jul-03   3NR11M13   Vacant           Only          2400 Patterson St, Ste 4           Nashville       TN       37203       reps today.                      S3.1
168   Schwab       George         658173   76        23338086           18-Jul-03   3NR11M13   Vacant           Starter       1916 Patterson Street              Nashville       TN       37203       100's.                           S3.1
169   Webber       Kari           658172   39        23294552           18-Jul-03   3NR11M13   Vacant           Starter       1916 Patterson St                  Nashville       TN       37203       dose of Neu. more                S3.1
170   Brumley      Miriam         864463   86        33307000062673     24-Jul-03   3NU11M13   Vacant           Starter       1916 Patterson St                  Nashville       TN       37203       that she had tried               S3.1
171   Webber       Kari           864805   87        23294552           24-Jul-03   3NU11M13   Vacant           Detail Only   1916 Patterson St                  Nashville       TN       37203       today                            S3.1
172   Duncan       Kay            658242   90        62429000043532     29-Jul-03   3NR11M13   Vacant           Only          2400 Patterson St                  Nashville       TN       37203       reps today.                      S3.1
173   Krancer      Pamela         658241   69        23316030           29-Jul-03   3NR11M13   Vacant           Only          2400 Patterson St, Ste 4           Nashville       TN       37203       reps today.                      S3.1
174   Webber       Kari           658290   80        23294552          05-Aug-03    3NR11M13   Vacant           Detail Only   1916 Patterson St                  Nashville       TN       37203       mention.                         S3.1
175   Duncan       Kay            864525   19        62429000043532    08-Aug-03    3NU11M13   Vacant           Detail Only   2400 Patterson St                  Nashville       TN       37203       opening up a bit and             S3.1
176   Krancer      Pamela         864528   68        23316030          08-Aug-03    3NU11M13   Vacant           Starter       2400 Patterson St, Ste 4           Nashville       TN       37203       Neurontin is the 1st             S3.1
177   Brumley      Miriam         658333   97        33307000062673    11-Aug-03    3NR11M13   Vacant           Starter       1916 Patterson St                  Nashville       TN       37203       hesitate to use higher           S3.1
178   Charitat     Maurice        658332   74        23350667          11-Aug-03    3NR11M13   Vacant           Starter       1916 Patterson Street              Nashville       TN       37203       schedule. He is                  S3.1
179   Clinton      Mary           658336   66        23219838          11-Aug-03    3NR11M13   Vacant           Starter       1916 Patterson St Ste 101          Nashville       TN       37203       information about                S3.1
180   Culclasure   John           658330   16        23279720          11-Aug-03    3NR11M13   Vacant           Detail Only   2400 Patterson St, Ste 4           Nashville       TN       37203       mention.                         S3.1
181   Mc Curry     Paul           658335   43        236485000007313   11-Aug-03    3NR11M13   Vacant           Starter       1916 Patterson Street              Nashville       TN       37203       Neurontin and uses               S3.1
182   Schwab       George         658334   20        23338086          11-Aug-03    3NR11M13   Vacant           Starter       1916 Patterson Street              Nashville       TN       37203       elderly pts. or so he            S3.1
183   Webber       Kari           658331   37        23294552          11-Aug-03    3NR11M13   Vacant           Starter       1916 Patterson St                  Nashville       TN       37203       study - she doesn't              S3.1
184   Clinton      Mary           658354   80        23219838          13-Aug-03    3NR11M13   Vacant           Detail Only   1916 Patterson St Ste 101          Nashville       TN       37203       PD fundraiser.                   S3.1
185   Clinton      Mary           658402   27        23219838          28-Aug-03    3NR11M13   Vacant           Only          1916 Patterson St Ste 101          Nashville       TN       37203       lunch for 9-2-03 -               S3.1
186   Culclasure   John           658399   60        23279720          28-Aug-03    3NR11M13   Vacant           Detail Only   2400 Patterson St, Ste 4           Nashville       TN       37203       mention                          S3.1
187   Mc Curry     Paul           658401   04        236485000007313   28-Aug-03    3NR11M13   Vacant           Starter       1916 Patterson Street              Nashville       TN       37203       discussion tabs vs.              S3.1
188   Schwab       George         658398   37        23338086          28-Aug-03    3NR11M13   Vacant           Starter       1916 Patterson Street              Nashville       TN       37203       to the nurses                    S3.1
189   Webber       Kari           658400   81        23294552          28-Aug-03    3NR11M13   Vacant           Starter       1916 Patterson St                  Nashville       TN       37203       about cost and pt.               S3.1
190   Duncan       Kay            864608   35        62429000043532    02-Sep-03    3NU11M13   Vacant           Detail Only   2400 Patterson St                  Nashville       TN       37203       this morning                     S3.1
191   Krancer      Pamela         864611   58        23316030          02-Sep-03    3NU11M13   Vacant           Starter       2400 Patterson St, Ste 4           Nashville       TN       37203       sold on the benefits             S3.1
192   Webber       Kari           658450   66        23294552          09-Sep-03    3NR11M13   Vacant           Detail Only   1916 Patterson St                  Nashville       TN       37203       discussion                       S3.1
193   Brumley      Miriam         658459   25        33307000062673    11-Sep-03    3NR11M13   Vacant           Starter       1916 Patterson St                  Nashville       TN       37203       assistance question.             S3.1
194   Clinton      Mary           658461   83        23219838          11-Sep-03    3NR11M13   Vacant           Only          1916 Patterson St Ste 101          Nashville       TN       37203       samples but I waited             S3.1
195   Culclasure   John           658460   62        23279720          11-Sep-03    3NR11M13   Vacant           Detail Only   2400 Patterson St, Ste 4           Nashville       TN       37203       mention                          S3.1
196   Mc Curry     Paul           658464   50        236485000007313   11-Sep-03    3NR11M13   Vacant           Only          1916 Patterson Street              Nashville       TN       37203       procedure today.                 S3.1
197   Schwab       George         658463   27        23338086          11-Sep-03    3NR11M13   Vacant           Starter       1916 Patterson Street              Nashville       TN       37203       the next Nurses'                 S3.1
198   Webber       Kari           658462   04        23294552          11-Sep-03    3NR11M13   Vacant           Starter       1916 Patterson St                  Nashville       TN       37203       appreciative of the              S3.1
199   Charitat     Maurice        864659   61        23350667          15-Sep-03    3NU11M13   Vacant           Detail Only   1916 Patterson Street              Nashville       TN       37203       today                            S3.1
200   HESTER       RAY            864662   07        23280339          15-Sep-03    3NU11M13   Vacant           Starter       4230 Harding Pike                  Nashville       TN       37205       Neurontin today.                 S3.1
201   Brumley      Miriam         864689   51        33307000062673    19-Sep-03    3NU11M13   Vacant           Detail Only   1916 Patterson St                  Nashville       TN       37203       mention today very               S3.1
202   Charitat     Maurice        864693   19        23350667          19-Sep-03    3NU11M13   Vacant           Detail Only   1916 Patterson Street              Nashville       TN       37203       very nice and said he            S3.1
203   Clinton      Mary           864691   85        23219838          19-Sep-03    3NU11M13   Vacant           Starter       1916 Patterson St Ste 101          Nashville       TN       37203       liking Relpax and                S3.1
204   Shwab        George         864695   35        23329391          19-Sep-03    3NU11M13   Vacant           Detail Only   1916 Patterson St., Suite 101      Nashville       TN       37203       Neurontin is his 1st             S3.1
205   Webber       Kari           864694   30        23294552          19-Sep-03    3NU11M13   Vacant           Detail Only   1916 Patterson St                  Nashville       TN       37203       Neurontin is 1st line            S3.1
206   Shwab        George         864723   48        23329391          30-Sep-03    3NU11M13   Vacant           Starter       1916 Patterson St., Suite 101      Nashville       TN       37203       uses Neurontin 1st               S3.1
207   Shwab        George         864748   01        23329391          03-Oct-03    3NU11M13   Vacant           Detail Only   1916 Patterson St., Suite 101      Nashville       TN       37203       hour behind and                  S3.1
208   Webber       Kari           864747   87        23294552          05-Oct-03    3NU11M13   Vacant           Starter       1916 Patterson St                  Nashville       TN       37203       Neurontin is 1st line            S3.1
209   Duncan       Kay            658653   89        62429000043532    07-Oct-03    3NR11M13   Vacant           Only          2400 Patterson St                  Nashville       TN       37203       anything today.                  S3.1
210   Krancer      Pamela         658652   68        23316030          07-Oct-03    3NR11M13   Vacant           Only          2400 Patterson St, Ste 4           Nashville       TN       37203       anything today.                  S3.1
211   Brumley      Miriam         658684   18        33307000062673    09-Oct-03    3NR11M13   Vacant           Starter       1916 Patterson St                  Nashville       TN       37203       Neurontin.                       S3.1
212   Charitat     Maurice        658686   62        23350667          09-Oct-03    3NR11M13   Vacant           Detail Only   1916 Patterson Street              Nashville       TN       37203       more AE's with Neu.              S3.1
213   Clinton      Mary           658687   84        23219838          09-Oct-03    3NR11M13   Vacant           Only          1916 Patterson St Ste 101          Nashville       TN       37203       today.                           S3.1
214   Culclasure   John           658685   41        23279720          09-Oct-03    3NR11M13   Vacant           Detail Only   2400 Patterson St, Ste 4           Nashville       TN       37203       mention.                         S3.1
215   Duncan       Kay            864802   42        62429000043532    16-Oct-03    3NU11M13   Vacant           Detail Only   2400 Patterson St                  Nashville       TN       37203       hall and quick                   S3.1
216   Duncan       Kay           1058059   12        62429000043532    16-Oct-03    3NU11M13   Vacant           Detail Only   2400 Patterson St                  Nashville       TN       37203       mention today as                 S3.1
217   Charitat     Maurice        658743   50        23350667          17-Oct-03    3NR11M13   Vacant           Starter       1916 Patterson Street, Suite 105   Nashville       TN       37203       about Gabitril - he              S3.1
218   Clinton      Mary           658786   66        23219838          23-Oct-03    3NR11M13   Vacant           Starter       1916 Patterson St Ste 101          Nashville       TN       37203       Christi and her                  S3.1
219   Brumley      Miriam         658788   16        33307000062673    24-Oct-03    3NR11M13   Vacant           Detail Only   1916 Patterson St                  Nashville       TN       37203                                        S3.1
220   Charitat     Maurice        658791   30        23350667          24-Oct-03    3NR11M13   Vacant           Starter       1916 Patterson Street, Suite 105   Nashville       TN       37203       Neurontin scripts this           S3.1
221   Duncan       Kay            658796   46        62429000043532    24-Oct-03    3NR11M13   Vacant           Detail Only   2400 Patterson St                  Nashville       TN       37203       mention.                         S3.1
222   Webber       Kari           658787   92        23294552          24-Oct-03    3NR11M13   Vacant           Starter       1916 Patterson St                  Nashville       TN       37203                                        S3.1
223   Brumley      Miriam        1308953   98        33307000062673    31-Oct-03    3NU22B13   Hardin, Robert   Starter       1916 Patterson St                  Nashville       TN       37203                                        S3.1
224   Mc Curry     Paul          1308954   07        236485000007313   31-Oct-03    3NU22B13   Hardin, Robert   Starter       1916 Patterson Street              Nashville       TN       37203                                        S3.1
225   Shwab        George        1308956   23        23329391          31-Oct-03    3NU22B13   Hardin, Robert   Detail Only   1916 Patterson St., Suite 101      Nashville       TN       37203                                        S3.1
226   Webber       Kari          1308955   17        23294552          31-Oct-03    3NU22B13   Hardin, Robert   Detail Only   1916 Patterson St                  Nashville       TN       37203                                        S3.1
227   Duncan       Kay           1308997   20        62429000043532    10-Nov-03    3NU22B13   Hardin, Robert   Starter       2400 Patterson St                  Nashville       TN       37203                                        S3.1
228   Krancer      Pamela        1308999   48        23316030          10-Nov-03    3NU22B13   Hardin, Robert   Detail Only   2400 Patterson St, Ste 4           Nashville       TN       37203                                        S3.1
229   Culclasure   John          1121287   76        23279720          21-Nov-03    3NU22B53   Ross, Janet      Only          1916 Patterson Street, suite 106   Nashville       TN       37203       procedure this                   S3.1
230   Brumley      Miriam         313356   35        33307000062673    04-Dec-03    3PB16A15   Regina           Detail Only   1916 Patterson St                  Nashville       TN       37203                                        S3.1
231   Clinton      Mary           313350   42        23219838          04-Dec-03    3PB16A15   Regina           Starter       1916 Patterson St Ste 101          Nashville       TN       37203                                        S3.1
232   Shwab        George         313355   10        23329391          04-Dec-03    3PB16A15   Regina           Detail Only   1916 Patterson St., Suite 101      Nashville       TN       37203                                        S3.1
233   Webber       Kari           313357   60        23294552          04-Dec-03    3PB16A15   Regina           Starter       1916 Patterson St                  Nashville       TN       37203                                        S3.1
234   Brumley      Miriam        1121343   06        33307000062673    05-Dec-03    3NU22B53   Ross, Janet      Starter       1916 Patterson St                  Nashville       TN       37203       and said keep in                 S3.1
235   Clinton      Mary          1121344   29        23219838          05-Dec-03    3NU22B53   Ross, Janet      Only          1916 Patterson St Ste 101          Nashville       TN       37203       fine with samples.               S3.1
236   Clinton      Mary          1309083   11        23219838          11-Dec-03    3NU22B13   Hardin, Robert   Starter       1916 Patterson St Ste 101          Nashville       TN       37203                                        S3.1
237   Brumley      Miriam        1309087   54        33307000062673    12-Dec-03    3NU22B13   Hardin, Robert   Detail Only   1916 Patterson St                  Nashville       TN       37203                                        S3.1
238   Duncan       Kay           1121409   34        62429000043532    18-Dec-03    3NU22B53   Ross, Janet      Starter       2400 Patterson St                  Nashville       TN       37203       mention.                         S3.1
239   Clinton      Mary          1121415   65        23219838          19-Dec-03    3NU22B53   Ross, Janet      Only          1916 Patterson St Ste 101          Nashville       TN       37203       She wasn't in today.             S3.1
240   Brumley      Miriam        1309636   82        33307000062673    08-Jan-04    3NU22B13   Hardin, Robert   Detail Only   1916 Patterson St                  Nashville       TN       37203                                        S3.1
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               A             B     C            D             E          F                G            H                I                      J                           K         L           M               N             O   P          Q
241   Clinton      Mary          1309139   53        23219838           08-Jan-04   3NU22B13   Hardin, Robert   Starter       1916 Patterson St Ste 101          Nashville      TN       37203                                         S3.1
242   Duncan       Kay           1309141   27        62429000043532     08-Jan-04   3NU22B13   Hardin, Robert   Detail Only   2400 Patterson St                  Nashville      TN       37203                                         S3.1
243   Krancer      Pamela        1309143   45        23316030           08-Jan-04   3NU22B13   Hardin, Robert   Starter       2400 Patterson St, Ste 4           Nashville      TN       37203                                         S3.1
244   Shwab        George        1309140   71        23329391           08-Jan-04   3NU22B13   Hardin, Robert   Starter       1916 Patterson St., Suite 101      Nashville      TN       37203                                         S3.1
245   Webber       Kari          1309635   78        23294552           08-Jan-04   3NU22B13   Hardin, Robert   Starter       1916 Patterson St                  Nashville      TN       37203                                         S3.1
246   Brumley      Miriam         313439   84        33307000062673     12-Jan-04   3PB16A15   Regina           Starter       1916 Patterson St                  Nashville      TN       37203                                         S3.1
247   Charitat     Maurice        313441   96        23350667           12-Jan-04   3PB16A15   Regina           Starter       1916 Patterson Street, Suite 105   Nashville      TN       37203                                         S3.1
248   Clinton      Mary           313443   50        23219838           12-Jan-04   3PB16A15   Regina           Starter       1916 Patterson St Ste 101          Nashville      TN       37203                                         S3.1
249   Culclasure   John           313445   08        23279720           12-Jan-04   3PB16A15   Regina           Starter       1916 Patterson St                  Nashville      TN       37203                                         S3.1
250   Shwab        George         313444   81        23329391           12-Jan-04   3PB16A15   Regina           Starter       1916 Patterson St., Suite 101      Nashville      TN       37203                                         S3.1
251   Webber       Kari           313442   23        23294552           12-Jan-04   3PB16A15   Regina           Starter       1916 Patterson St                  Nashville      TN       37203                                         S3.1
252   Brumley      Miriam        1121516   75        33307000062673     15-Jan-04   3NU22B53   Ross, Janet      Starter       1916 Patterson St                  Nashville      TN       37203       tomorrow to work full             S3.1
253   Clinton      Mary          1121514   31        23219838           15-Jan-04   3NU22B53   Ross, Janet      Starter       1916 Patterson St Ste 101          Nashville      TN       37203       of all of the Neurontin           S3.1
254   Culclasure   John          1121515   54        23279720           15-Jan-04   3NU22B53   Ross, Janet      Detail Only   1916 Patterson Street, suite 106   Nashville      TN       37203       of the new split tabs             S3.1
255   Scwab        George        1121517   63        277812000014750    15-Jan-04   3NU22B53   Ross, Janet      Detail Only   1916 Patterson Street              Nashville      TN       37203       assistance programs.              S3.1
256   Krancer      Pamela        1121530   48        23316030           16-Jan-04   3NU22B53   Ross, Janet      Starter       2400 Patterson St, Ste 4           Nashville      TN       37203       Neurontin and wants               S3.1
257   Duncan       Kay           1121587   42        62429000043532     27-Jan-04   3NU22B53   Ross, Janet      Only          2400 Patterson St                  Nashville      TN       37203                                         S3.1
258   Krancer      Pamela        1121586   22        23316030           27-Jan-04   3NU22B53   Ross, Janet      Only          2400 Patterson St, Ste 4           Nashville      TN       37203                                         S3.1
259   Clinton      Mary          1121603   89        23219838           29-Jan-04   3NU22B53   Ross, Janet      Starter       1916 Patterson St Ste 101          Nashville      TN       37203                                         S3.1
260   Culclasure   John          1121607   63        23279720           30-Jan-04   3NU22B53   Ross, Janet      Detail Only   1916 Patterson Street, suite 106   Nashville      TN       37203                                         S3.1
261   Shwab        George        1121608   25        23329391           30-Jan-04   3NU22B53   Ross, Janet      Starter       1916 Patterson St., Suite 101      Nashville      TN       37203       changing the                      S3.1
262   Webber       Kari          1121609   50        23294552           30-Jan-04   3NU22B53   Ross, Janet      Starter       1916 Patterson St                  Nashville      TN       37203       about the split tabs              S3.1
263   Clinton      Mary          1121687   52        23219838          10-Feb-04    3NU22B53   Ross, Janet      Only          1916 Patterson St Ste 101          Nashville      TN       37203                                         S3.1
264   Culclasure   John          1121685   09        23279720          10-Feb-04    3NU22B53   Ross, Janet      Starter       1916 Patterson Street, suite 106   Nashville      TN       37203       keep reminding him                S3.1
265   Duncan       Kay           1121684   86        62429000043532    10-Feb-04    3NU22B53   Ross, Janet      Starter       2400 Patterson St                  Nashville      TN       37203       scored tabs and will              S3.1
266   Shwab        George        1121683   65        23329391          10-Feb-04    3NU22B53   Ross, Janet      Detail Only   1916 Patterson St., Suite 101      Nashville      TN       37203       the scored tabs and               S3.1
267   Webber       Kari          1121686   32        23294552          10-Feb-04    3NU22B53   Ross, Janet      Detail Only   1916 Patterson St                  Nashville      TN       37203                                         S3.1
268   Mc Curry     Paul          1309289   54        236485000007313   14-Feb-04    3NU22B13   Hardin, Robert   Starter       1805 Williamson COurt              Brentwood      TN       37027                                         S3.1
269   Mc Curry     Paul          1121714   62        236485000007313   16-Feb-04    3NU22B53   Ross, Janet      Only          1916 Patterson Street              Nashville      TN       37203                                         S3.1
270   Culclasure   John          1309323   56        23279720          18-Feb-04    3NU22B13   Hardin, Robert   Starter       1916 Patterson Street, suite 106   Nashville      TN       37203                                         S3.1
271   Duncan       Kay           1309327   07        62429000043532    19-Feb-04    3NU22B13   Hardin, Robert   Detail Only   2400 Patterson St                  Nashville      TN       37203                                         S3.1
272   Krancer      Pamela        1309329   19        23316030          19-Feb-04    3NU22B13   Hardin, Robert   Starter       2400 Patterson St, Ste 4           Nashville      TN       37203                                         S3.1
273   Mc Curry     Paul          1379246   36        236485000007313   26-Feb-04    3PB16A16   Elizabeth        Detail Only   1805 Williamson COurt              Brentwood      TN       37027                                         S3.1
274   Charitat     Maurice       1121754   58        23350667          27-Feb-04    3NU22B53   Ross, Janet      Detail Only   1916 Patterson Street, Suite 105   Nashville      TN       37203       about the split tabs F-           S3.1
275   Culclasure   John          1121756   99        23279720          27-Feb-04    3NU22B53   Ross, Janet      Only          1916 Patterson Street, suite 106   Nashville      TN       37203                                         S3.1
276   Shwab        George        1121753   33        23329391          27-Feb-04    3NU22B53   Ross, Janet      Starter       1916 Patterson St., Suite 101      Nashville      TN       37203       100's A- said he'd try            S3.1
277   Webber       Kari          1121755   79        23294552          27-Feb-04    3NU22B53   Ross, Janet      Only          1916 Patterson St                  Nashville      TN       37203                                         S3.1
278   Webber       Kari          1767170   96        23294552          08-Mar-04    3PB16A15   Regina           Starter       1916 Patterson St                  Nashville      TN       37203                                         S3.1
279   Charitat     Maurice       1121802   97        23350667          12-Mar-04    3NU22B53   Ross, Janet      Detail Only   1916 Patterson Street, Suite 105   Nashville      TN       37203       Knoxville in 60 days.             S3.1
280   Culclasure   John          1121804   43        23279720          12-Mar-04    3NU22B53   Ross, Janet      Only          1916 Patterson Street, suite 106   Nashville      TN       37203                                         S3.1
281   Mc Curry     Paul          1309362   71        236485000007313   12-Mar-04    3NU22B13   Hardin, Robert   Detail Only   1805 Williamson COurt              Brentwood      TN       37027                                         S3.1
282   Shwab        George        1121801   74        23329391          12-Mar-04    3NU22B53   Ross, Janet      Starter       1916 Patterson St., Suite 101      Nashville      TN       37203       first line for all pts.           S3.1
283   Webber       Kari          1121803   18        23294552          12-Mar-04    3NU22B53   Ross, Janet      Starter       1916 Patterson St                  Nashville      TN       37203       Neurontin first line              S3.1
284   Charitat     Maurice       1309393   13        23350667          18-Mar-04    3NU22B13   Hardin, Robert   Starter       1916 Patterson Street, Suite 105   Nashville      TN       37203                                         S3.1
285   Culclasure   John          1309390   45        23279720          18-Mar-04    3NU22B13   Hardin, Robert   Starter       1916 Patterson Street, suite 106   Nashville      TN       37203                                         S3.1
286   Duncan       Kay           1309392   77        62429000043532    18-Mar-04    3NU22B13   Hardin, Robert   Detail Only   2400 Patterson St                  Nashville      TN       37203                                         S3.1
287   Shwab        George        1309391   53        23329391          18-Mar-04    3NU22B13   Hardin, Robert   Starter       1916 Patterson St., Suite 101      Nashville      TN       37203                                         S3.1
288   Charitat     Maurice       1767218   20        23350667          24-Mar-04    3PB16A15   Regina           Detail Only   1916 Patterson Street, Suite 105   Nashville      TN       37203                                         S3.1
289   Clinton      Mary          1767220   82        23219838          24-Mar-04    3PB16A15   Regina           Starter       1916 Patterson St Ste 101          Nashville      TN       37203                                         S3.1
290   Culclasure   John          1767219   49        23279720          24-Mar-04    3PB16A15   Regina           Starter       1916 Patterson St                  Nashville      TN       37203                                         S3.1
291   Webber       Kari          1767221   21        23294552          24-Mar-04    3PB16A15   Regina           Starter       1916 Patterson St                  Nashville      TN       37203                                         S3.1
292   Culclasure   John          1121847   20        23279720          25-Mar-04    3NU22B53   Ross, Janet      Only          1916 Patterson Street, suite 106   Nashville      TN       37203                                         S3.1
293   Shwab        George        1121849   88        23329391          25-Mar-04    3NU22B53   Ross, Janet      Starter       1916 Patterson St., Suite 101      Nashville      TN       37203       aware of pushing the              S3.1
294   Webber       Kari          1121848   40        23294552          25-Mar-04    3NU22B53   Ross, Janet      Detail Only   1916 Patterson St                  Nashville      TN       37203                                         S3.1
295   Duncan       Kay           1309451   20        62429000043532     01-Apr-04   3NU22B13   Hardin, Robert   Starter       2400 Patterson St                  Nashville      TN       37203                                         S3.1
296   Krancer      Pamela        1309450   12        23316030           01-Apr-04   3NU22B13   Hardin, Robert   Starter       2400 Patterson St, Ste 4           Nashville      TN       37203                                         S3.1
297   Shwab        George        1309447   60        23329391           01-Apr-04   3NU22B13   Hardin, Robert   Starter       1916 Patterson St., Suite 101      Nashville      TN       37203                                         S3.1
298   Webber       Kari          1309448   68        23294552           01-Apr-04   3NU22B13   Hardin, Robert   Detail Only   1916 Patterson St                  Nashville      TN       37203                                         S3.1
299   BERKMAN      RICHARD       1309454   01        23268138           02-Apr-04   3NU22B13   Hardin, Robert   Starter       2400 Patterson Street              Nashville      TN       37203                                         S3.1
300   Duncan       Kay           1121878   14        62429000043532     08-Apr-04   3NU22B53   Ross, Janet      Starter       2400 Patterson St                  Nashville      TN       37203       tear sheets                       S3.1
301   Charitat     Maurice       1121883   36        23350667           09-Apr-04   3NU22B53   Ross, Janet      Starter       313 N.Main St.                     Ashland City   TN       37015                                         S3.1
302   Clinton      Mary          1121886   16        23219838           09-Apr-04   3NU22B53   Ross, Janet      Starter       1916 Patterson St Ste 101          Nashville      TN       37203       of Relpax will make a             S3.1
303   Culclasure   John          1121884   58        23279720           09-Apr-04   3NU22B53   Ross, Janet      Starter       1916 Patterson Street, suite 106   Nashville      TN       37203       split tabs                        S3.1
304   Webber       Kari          1121885   81        23294552           09-Apr-04   3NU22B53   Ross, Janet      Detail Only   1916 Patterson St                  Nashville      TN       37203       the split tabs                    S3.1
305   Duncan       Kay           1309474   78        62429000043532     15-Apr-04   3NU22B13   Hardin, Robert   Starter       2400 Patterson St                  Nashville      TN       37203                                         S3.1
306   Krancer      Pamela        1309473   72        23316030           15-Apr-04   3NU22B13   Hardin, Robert   Detail Only   2400 Patterson St, Ste 4           Nashville      TN       37203                                         S3.1
307   Clinton      Mary          1121947   72        23219838           22-Apr-04   3NU22B53   Ross, Janet      Starter       1916 Patterson St Ste 101          Nashville      TN       37203       coming to the                     S3.1
308   Culclasure   John          1121951   40        23279720           23-Apr-04   3NU22B53   Ross, Janet      Detail Only   1916 Patterson Street, suite 106   Nashville      TN       37203                                         S3.1
309   Mc Curry     Paul          1309483   89        236485000007313    23-Apr-04   3NU22B13   Hardin, Robert   Starter       1805 Williamson COurt              Brentwood      TN       37027                                         S3.1
310   Shwab        George        1121953   80        23329391           23-Apr-04   3NU22B53   Ross, Janet      Starter       1916 Patterson St., Suite 101      Nashville      TN       37203                                         S3.1
311   Webber       Kari          1121952   60        23294552           23-Apr-04   3NU22B53   Ross, Janet      Detail Only   1916 Patterson St                  Nashville      TN       37203                                         S3.1
312   Duncan       Kay           1309506   75        62429000043532     29-Apr-04   3NU22B13   Hardin, Robert   Starter       2400 Patterson St                  Nashville      TN       37203       from a Neurosurgical              S3.1
313   Krancer      Pamela        1309507   86        23316030           29-Apr-04   3NU22B13   Hardin, Robert   Detail Only   2400 Patterson St, Ste 4           Nashville      TN       37203       the dose of Neurontin             S3.1
314   Clinton      Mary          1122026   36        23219838          05-May-04    3NU22B53   Ross, Janet      Detail Only   1916 Patterson St Ste 101          Nashville      TN       37203       sponsor a PD polo                 S3.1
315   Culclasure   John          1122039   16        23279720          07-May-04    3NU22B53   Ross, Janet      Only          1916 Patterson Street, suite 106   Nashville      TN       37203                                         S3.1
316   Shwab        George        1122038   95        23329391          07-May-04    3NU22B53   Ross, Janet      Detail Only   1916 Patterson St., Suite 101      Nashville      TN       37203       push the dose a little            S3.1
317   Webber       Kari          1122040   36        23294552          07-May-04    3NU22B53   Ross, Janet      Starter       1916 Patterson St                  Nashville      TN       37203       split tabs and has                S3.1
318   Clinton      Mary          1309543   57        23219838          11-May-04    3NU22B13   Hardin, Robert   Detail Only   1916 Patterson St Ste 101          Nashville      TN       37203       Dr C and speak with               S3.1
319   Clinton      Mary          1122115   67        23219838          19-May-04    3NU22B53   Ross, Janet      Only          1916 Patterson St Ste 101          Nashville      TN       37203                                         S3.1
320   Culclasure   John          1122117   18        23279720          19-May-04    3NU22B53   Ross, Janet      Detail Only   1916 Patterson Street, suite 106   Nashville      TN       37203                                         S3.1
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                A            B     C            D               E    F               G            H                I                    J                          K        L           M              N             O   P          Q
321   Krancer       Pamela       1122112   00        23316030       19-May-04   3NU22B53   Ross, Janet   Starter       2400 Patterson St, Ste 4        Nashville       TN       37203       looking for the 600's.           S3.1
322   Shwab         George       1122111   78        23329391       19-May-04   3NU22B53   Ross, Janet   Starter       1916 Patterson St., Suite 101   Nashville       TN       37203                                        S3.1
323   Webber        Kari         1122118   38        23294552       19-May-04   3NU22B53   Ross, Janet   Starter       1916 Patterson St               Nashville       TN       37203       new scored tabs of               S3.1
324   Krancer       Pamela       1122154   48        23316030       28-May-04   3NU22B53   Ross, Janet   Only          2400 Patterson St, Ste 4        Nashville       TN       37203                                        S3.1
